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                          IN THE UNITED STATES DISTRICT COURT
                           FOR THE EASTERN DISTRICT OF TEXAS
                                    SHERMAN DIVISION


  UNITED STATES OF AMERICA § SEALED




                                      INDICTMENT


  THE UNITED STATES GRAND URY CHARGES:

                                        Co nt One

                                                 Violation: 21 U.S.C. § 841(a)(1) and 18
                                                 U.S.C. § 2 (Possession with the Intent to
                                                 Distribute and Distribution of Controlled
                                                 Substances Resulting in Death and Aiding
                                                 and Abetting)

           In or about December 2018, in the Easte District of Texas and elsewhere, the

  defendants. . ' • . j[ . -cj nd ¦ . ( . | ided and abetted by e ch

  other did knowingly and intentionally possess with intent to distribute and distribute a

  mixture or substance containing a detectible amount of Alprazolam and N-phenyl-N-[l-(2-

  phenylethyl)-4-piperidinyl]propanamide (Fentanyl), and the death of RJ.P. on or about

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  December 28, 2018, resulted from the use of Alprazolam and Fentanyl distributed by the

  defendants in violation of 21 U.S.C. § 841.

           In violation of 21 U.S.C. § 841 and 18 U.S.C. § 2.

                                              Count Two

                                                    Violation: 21 U.S.C. § 846
                                                    (Conspiracy to Distribute and Possess
                                                    with the Intent to Distribute a Controlled
                                                    Substance)

           That from sometime in or about 2014, and continuously thereafter up to and

  including the date of this Indictment, in the Easte District of Texas and elsewhere,




                                        Gina Corwin, andj          Qg g defendants, did

  knowingly and intentionally combine, conspire, and agree with each other and other

  persons known and unknown to the United States Grand Jury, to knowingly and

  intentionally distribute and possess with the intent to distribute a mixture or substance

  containing a detectible amount of Alprazolam, Oxycodone, Amphetamine (Adderall),

  Cocaine, and N-phenyl-N-[l-(2-phenylethyl)-4-piperidinyl]propanamide (Fentanyl), in

  violation of 21 U.S.C. § 841(a)(1).

           In violation of 21 U.S.C. § 846.

                                          Count Three

                                                    Violation: 18 U.S.C. § 3
                                                    (Accessoiy after the Fact)

           In or about December 2018, in the Eastern District of Texas, the defendant,

                    knowing that an offense against the United States had been committed, to

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  wit, possession with intent to distribute a mixture or substance containing a detectible

  amount of Alprazolam and N-phenyl-N-[l~(2-phenylethyl)-4-piperidinyl]propanamide

  (Fentanyl), by co-defendant, JJU as charged in Count One of this Indictment, did

  receive, relieve, comfort, and assist in order to hinder and prevent his

  prosecution, apprehension, trial, and punishment, in violation of 18 U.S.C. § 3.

                                            Count Four

                                                     Violation: 18 U.S.C. §4
                                                     (Misprison of a Felony)

           In or about December 2018, in the Eastern District of Texas and elsewhere,

                    having knowledge of the actual commission of a felony cognizable by a

  court of the United States, to-wit, possession with intent to distribute a mixture or substance

  containing a detectible amount of Alprazolam and N-phenyl-N-[l-(2-phenylethyl)-4-

  piperidinyljpropanamide (Fentanyl), in violation of 21 U.S.C. § 841, did conceal the same

  by failing to report the criminal activity and did not make known this fact as soon as

  possible to a judge or other person in a position of authority under the United States.

           In violation of 18 U.S.C. § 4.

                                            Count Five

                                                     Violation: 21 U.S.C. § 841(a)(1) and
                                                     18 U.S.C. § 2 (Possession with the Intent
                                                     to Distribute and Distribution of
                                                     Controlled Substances and Aiding and
                                                    Abetting)

           That from sometime in or about 2014, and continuously thereafter up to and

  including the date of this Indictment,


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                                   , and                  aided and abetted by each other did

  knowingly and intentionally possess with intent to distribute and distribute a mixture or

  substance containing a detectible amount of Alprazolam, Oxycodone, Cocaine, and N-

  phenyl-N-[l-(2-phenylethyl)-4-piperidinyl]propanamide (Fentanyl), in violation of 21

  U.S.C. § 841.

           In violation of 21 U.S.C. § 841 and 18 U.S.C. § 2.

                                           Count Six

                                                    Violation: 18 U.S.C. § 924(c)
                                                    (Possession of a Firearm in Furtherance
                                                    of a Drug Trafficking Crime)

           On or about March 26, 2019, in the Eastern District of Texas,

  defendant, did knowingly possess firearms, namely a Remington Shotgun serial number

  RS40408 and a Mossberg .22 Rifle serial number 13507727, in furtherance of a drug

  trafficking crime for which he may be prosecuted in a Court of the United States, to wit:

  possession with intent to distribute a mixture or substance containing a detectible amount

  of Alprazolam, Oxycodone, Amphetamine (Adderall), Cocaine, and N-phenyl-N-[l-(2-

  phenylethyl)-4-piperidinyl]propanamide (Fentanyl), a violation of 21 U.S.C. § 841(a)(1).

           In violation of 18 U.S.C § 924(c).




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                                           Count Seven

                                                     Violation: 18 U.S.C. § 924(c)
                                                     (Possession of a Firearm in Furtherance
                                                     of a Dr g Trafficking C ime)

           That from sometime in or about 2017, and continuously thereafter up to and

  including the date of this Indictment, in the Eastern District of Texas,

  defendant, did knowingly possess a firearm in furtherance of a drug trafficking crime for

  which he may be prosecuted in a Court of the United States, to wit: possession with intent

  to distribute a mixture or substance containing a detectible amount of Alprazolam,

  Oxycodone, Amphetamine (Adderall), Cocaine, and N-phenyl-N-[l-(2-phenylethyl)-4-

  piperidinyl]propanamide (Fentanyl), a violation of 21 U.S.C. § 841(a)(1).

           In violation of 18 U.S.C. § 924(c).


               NOTICE OF INTENT TO SEEK CRIMINAL FORFEITURE
                          Criminal Forfeiture Pursuant to 21 U.S.C. § 853

           As a result of committing the offenses charged in this Indictment, the defendants

  shall forfeit to the United States, pursuant to 21 U.S.C. § 853, all property, real and

  personal, involved in the offenses alleged or t aceable to such p operty, and all p operty,

  real or personal, used to commit or facilitate the offenses alleged, including, but not limited

  to, the following:


  Firearms


           Remington Shotgun serial number RS40408; and
           Mossberg .22 Rifle serial number 13507727.




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   Substitute Assets

           If any of the property described above as being subject to forfeiture, as a result of
           any act or omission of any defendant -

                   (a) camiot be located upon the exercise of due diligence;
                  (b) has been transferred or sold to, or deposited with a third person;
                  (c) has been placed beyond the jurisdiction of the court;
                  (d) has been substantially diminished in value; or
                  (e) has been commingled with other property which cannot be subdivided
                         without difficulty;

  it is the intent of the United States, pursuant to 18 U.S.C. § 982(a)(4), to seek forfeiture of
  any other property of each defendant up to the value of the above forfeitable property,
  including but not limited to all property, both real and personal owned by each defendant.

           By virtue of the commission of the offenses alleged in this Indictment, any and all

  interest that each defendant has in the above-described property is vested in and hereby

  forfeited to the United States.


                                                    A TRUE BILL




                                                    GRAND JURY FOREPERSON

  JOSEPH D. BROWN
  UNITED STATES ATTORNEY




  JAY R. COMBS Date
  Assistant United States Attorney




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                          IN THE UNITED STATES DISTRICT COURT
                           FOR THE EASTERN DISTRICT OF TEXAS
                                   SHERMAN DIVISION

   UNITED STATES OF AMERICA                     § SEALED
                                                §
   v.                                           § NO. 4:19CR
                                                § Judge
                                                §
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                                                §
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                                                §

                                    NOTICE OF PENALTIES

                                            Count One

  Violation: 21 U.S.C. § 841(a)(1) and 18 U.S.C. § 2

  Penalty: If death or serious bodily injury resulted from the uses of such substance
                 then a term of imprisonment of not less than 20 years or more than life, a
                 fine not to exceed $5,000,000 or both. A term of supervised release of at
                    least five (5) years.

  Special Assessment: $ 100.00

                                            Count Two

  Violation: 21 U.S.C. § 846

  Penalty: A term of imprisonment of not more than 20 years imprisonment, a fine not
               to exceed $1,000,000.00 or both; supervised release of at least three years;

  Special Assessment: $100.00




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                                        Count Three

   Violation: 18U.S.C. §3

   Penalty: A term of imprisonment of not more than 15 years, a fine not to exceed
                 $2,500,000, or both. A te m of supervised release of at least three (3)
                     years.


   Special Assessment: $ 100.00



                                         Count Four

   Violation: 18U.S.C. §4

  Penalty: Not more than 3 yea 's, a fine not to exceed $250,000, or both. A term of
                supervised release of not more than one (1) year.

   Special Assessment: $ 100.00



                                         CountFive

  Violation: 21 U.S.C. § 841(a)(1) and 18 U.S.C. § 2

  Penalty: A term of imprisonment of not more than 20 years imprisonment, a fine not
               to exceed $1,000,000.00 or both; supervised release of at least three years;

  Special Assessment: $100.00



                                   Counts Six and Seven

  Violation: 18 U.S.C. § 924(c)

  Penalty: Imprisonment for not less than 5 years or more than life, which
              imprisonment must be consecutive to any other sentence imposed for the
              drug trafficking crime during which the firearm was possessed, a fine not to
              exceed $250,000.00 or both. A term of supervised release of not more
              than 3 years.

  Special Assessment: $ 100.00


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